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IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *

Plaintiff *

V. = Civil No.: 21-CV-1474
$14,363.00 IN U.S. CURRENCY %

Defendant *

NOTICE OF CLAIM TO DEFENDANT CURRENCY

Shonte N. Norris, claimant, by and through her attorney, Tae H. Kim, Esq., hereby files

this claim to the defendant currency pursuant to Supplemental Rule G(5) and states:

1. Claimant, Shonte N. Norris, received a Notice of Complaint for Forfeiture dated June
16, 2021 wherein the United States of America is seeking the forfeiture of currency in the

amount of $14,363.00.
2. The Claimant is claiming ownership of the currency in the amount of $14,363.00.

3. The Claimant is the rightful owner of the defendant currency which was obtained

through lawful means.

4. The Claimant shall file an answer to the Complaint for Forfeiture within 21 days of the

filing of this Notice of Claim as required.

Respectfully submitted,

/s/
Tae H. Kim, Esq.
5501 Twin Knolls Road, Suite 102
Columbia, MD 21045
410-730-1020
thkim@attorneytaekim.com
Bar No.: 26183
Attorney for Claimant

 
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Shonte N. Norris

 

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Tae H. Kim, Esq.

 

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